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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


AIJALON WALLACE MCLITTLE,

          Petitioner,
                                                        Case No. 95-81146
v.
                                                        Honorable Patrick J. Duggan
UNITED STATES OF AMERICA,

          Respondent.
                                         /


                 OPINION AND ORDER DENYING PETITIONER’S
                       MOTION TO RECALL MANDATE

                          At a session of said Court, held in the U.S.
                            District Courthouse, Eastern District
                               of Michigan, on April 30, 2007.

          PRESENT:           THE HONORABLE PATRICK J. DUGGAN
                             U.S. DISTRICT COURT JUDGE

       Petitioner Aijalan Wallace McLittle, II is a federal prisoner currently incarcerated at

the at the Federal Correctional Institution in Waseca, Minnesota. Petitioner is proceeding

pro se. Presently before this Court is Petitioner’s Motion to Recall the Mandate. For the

reasons set forth below, Petitioner’s motion will be denied.

I.     Background

       Petitioner and twenty-one co-defendants were charged with violating the

Racketeering Influence and Corrupt Organizations Act (RICO), 18 U.S.C. § 1962, based

on their involvement in a series of robberies. After pleading guilty pursuant to a plea
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agreement, Petitioner was sentenced to 108 months in prison for violating RICO and a

consecutive term of 60 months for violating 18 U.S.C. § 924(c) for carrying a firearm

during the commission of a “crime of violence.” Petitioner did not file a direct appeal.

     On October 28, 1997, Petitioner filed a petition for a writ of habeas corpus under 28

U.S.C. § 2255, raising ineffective assistance of counsel, actual innocense, and

misapplication of the Sentencing Guidelines. This Court denied Petitioner’s § 2255

petition, McLittle v. United States, No. 97-75640 (E.D. Mich. June 30, 1998), and

Petitioner appealed to the Sixth Circuit Court of Appeals. The Sixth Circuit affirmed the

district court’s judgment. See McLittle v. United States, 208 F.3d 214, 2000 WL 302708

(6th Cir. May 17, 2000).

     On March 3, 2004, Petitioner filed a motion in the Sixth Circuit seeking permission

to file a second or successive motion to vacate sentence under 28 U.S.C. § 2255. On

September 28, 2004, the Sixth Circuit denied Petitioner’s motion, concluding that

Petitioner’s claim was not based on newly discovered evidence. (See Docket No. 675,

Sixth Circuit File No. 04-1123 Or.).

     On March 4, 2005, Petitioner filed another a petitioner for writ of habeas corpus

pursuant to 28 U.S.C. § 2241 or, in the alternative, pursuant to 28 U.S.C. § 2255, raising

actual innocence of the RICO crime, violation of Blakely1 and Booker/Fanfan2, and an

unknowing and involuntary guilty plea. This Court denied this petition on April 12,



       1
        Blakely v. Washington, 124 S. Ct. 2531 (2004).
       2
        United States v. Booker and United States v. Fanfan, 125 S. Ct. 738 (2005).

                                               2
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2005. (Docket No. 689). On May 2, 2005, Petitioner filed a motion for reconsideration,

which was subsequently denied on May 4, 2005. (Docket Nos. 693, 694).

        On May 26, 2005, Petitioner filed a motion seeking certificate of appealability,

which was denied on June 1, 2005. (Docket Nos. 697, 699). The Sixth Circuit affirmed

the district court’s denial of a certificate of appealability on January 10, 2006. (Docket

No. 707, Sixth Circuit File No. 05-1704 Or.).

II.     Discussion

        In his motion, Petitioner states that he is “requesting this Honorable court to [s]ua

sponte request the U.S. Court of Appeals for the Sixth Circuit [to] recall it’s [sic] mandate

in light of United States v. Booker, 125 S. Ct. 739 (2005) to re-sentence Petitioner to a

just and proper sentence due to him continually being incarcerated for a RICO robbery he

did not commit.” (Petitioner’s Mot. at 1). In support of his assertion, Petitioner provides

a letter of a co-defendant and an affidavit of another inmate stating that Petitioner did not

commit the RICO robbery. (Id. Exs. B & C). According to Petitioner, “[t]hese facts

present ‘extraordinary circumstances’ which warrants [sic] recall of the mandate and

remand for re-sentencing.” (Id. at 2).

        “[T]he courts of appeals are recognized to have an inherent power to recall their

mandates3 . . . .” Calderon v. Thompson, 523 U.S. 538, 549-50, 118 S. Ct. 1489, 1498

(1998). Furthermore, “such a power should only be exercised in extraordinary

circumstances because of the profound interests in repose attached to a court of appeals


         3
        A “mandate” is defined in relevant part as “[a]n order from an appellate court directing a
lower court to take a specified action.” BLACKS LAW DICTIONARY 973 (7th ed. 1999).

                                                3
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mandate.” United States v. Saikaly, 424 F.3d 514, 517 (6th Cir. 2005).

       This Court does not believe that the circumstances presented by Petitioner are so

“extraordinary” to request that the Sixth Circuit Court of Appeals to recall their mandate.4

In addition, to the extent that Petitioner argues that Booker/Fanfan supports his position,

the Sixth Circuit has held that “the incremental change in the law as evidenced by

Apprendi, Blakely and Booker simply is not the type of unforeseen contingency which

warrants recall of the mandate to permit yet another round of appellate review.” Id. at

517.

       Accordingly,

       IT IS ORDERED, that Petitioner’s Motion to Recall the Mandate is DENIED.


                                              s/PATRICK J. DUGGAN
                                              UNITED STATES DISTRICT JUDGE

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        4
         It is not clear which “mandate” Petitioner is challenging.

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